     Appellate Case: 23-1135       Document: 69         Date Filed: 10/20/2023      Page: 1
                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                               Jane K. Castro
Clerk of Court                                                                   Chief Deputy Clerk
                                        October 20, 2023

Mr. Steven Martyn
Mr. Nathan James Whitney
El Paso County Attorney's Office
200 South Cascade Avenue, Suite 150
Colorado Springs, CO 80903-2208

RE:        23-1135, Griffith v. El Paso County, Colorado, et al
           Dist/Ag docket: 1:21-CV-00387-CMA-NRN

Dear Counsel:

Appellees brief is deficient because:

There is no statement on the front cover of the brief whether oral argument is desired.
(Every request for oral argument must be accompanied by a statement of the reason(s)
oral argument is necessary.) See 10th Cir. R. 28.2(C)(2).

You must file a corrected brief. Do not file paper copies of your brief until the court has
received your corrected brief and has issued notice it is compliant.

The corrected brief must have an updated certificate of service (if required; see 10th Cir.
R. 25.4).

The time to file a reply brief will run from the date of service of appellees’ corrected
brief.

If you fail to correct the stated deficiency within three days of the date of this letter, the
deficient brief will not be filed. In addition, the appellees will not be heard at oral
argument unless the court grants permission. See Fed. R. App. P. 31(c).
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Please contact this office if you have questions.

                                            Sincerely,



                                            Christopher M. Wolpert
                                            Clerk of Court



cc:       Jonathan Backer
          Tovah Calderon
          Annie Kurtz
          Timothy Macdonald
          Andrew McNulty
          Mari Newman
          Devi Rao
          Cynthia Louise Rice
          Harper Samuel Seldin
          Maria Michelle Uzeta
          Kyle Courtneay Velte
          Ezra Young



CMW/klp




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